Case 17-11043 Doc 22 Filed 09/29/17 Page 1 of 38

Fill in this information to identify your case:

 

 

 

 

Debtor 1 Avery Bradley Green

First Name Nllddle Narne Last Name
Debtor 2 _
(Spouse iil flling) First Name Nlldclle Name Lasl Name

United States Banl<ruptcy Court for the: M|DDLE DlSTRlCT OF NORTH CAROL|NA

 

-Case number 17-11043

 

iiti<nowni [:| Check if this is an

 

Official Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical information

 

amended filing

12115

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. |f you are filing amended schedules after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

Surnmarize Your Assets

Your assets
Value of what you own

1. Schedu|e Ale Property (thcial Form 106A/B)

1a Copy line 55, Total real estatel from Schedule AlB ................................................................................................ $
1b. Copy line 62, Total personal property, from Schedule A!B ..................................................................................... $
1c. Copy line 63, Total of all property on Schedule A/B ............................................................................................... $

524,000.00

2,510,210.00

3,034,210.00

 

muth marize Your Liabilities

Your liabilities
Amount you owe

24 Schedu.'e D.' Creditors Who Have Ci'a."ms Secured by Property (Official Form 1060)

2a. Copy the total you tisted in Column A, Amountofclaim, at the bottom of the last page of F'art 1 of Schedule D... $
3. Schedule E/F.' Credr`tors Who Have Unsecured Ciairns (Ofncia| Form 105E/F}

3a Copy the total claims from Part 1 (priority unsecured claims) from line tie of Schedufe E/F ................................. 3

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line Bj of Schedule E/F ............................ $

2,912,900.00

38,010.00

2,102,200.00

 

Your total liabilities $

 

5,053,110.00

 

W_mmarize Your income and Expenses

 

4. Schedule l.' Your/ncome (Officiat Form 106|}
Copy your combined monthly income from line 12 of Schedulel ................................................................................ $

5. Scheo'ule J.' Your Expenses (Official Form 1OBJ)
Copy your monthly expenses from line 22c of Schedule J .......................................................................... $

Answer These Questions for Administrative and Statistica| Records

0.00

5,310.00

 

6. Are you filing for bankruptcy under Chapters 7,11, or 137

|:| No` You have nothing to report on this part of the form. Chec|< this box and submit this form to the court With your other schedules

l Yes
?. What kind of debt do you have?

I:| Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personall familyl or

household purpose.” 11 U.S.C. § 101(8). Fill out lines B-Qg for statistical purposes 28 U.S.C1 § 159.

- Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

the court With your other schedules
Official Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information

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page 1 of 2

Elest Casa Bankruplcy

 

Case 17-11043 Doc 22 Filed 09/29/17 Page 2 of 38

benton Avery§'adley QLEP_.

8. From the Statement of Your Current Monthiy income'. Copy your total current monthly income from Official Form

122A-1 Line11;OR,Form1ZZB Line 11; OR, Form 1220-1 Line14.

9. Copy the foi|owing special categories of claims from Part 4, line 6 of Scheduie E/F:

Tota| claim

From Part 4 on Scheduie E/F, copy the following:

Qa. Domestic support obligations {Copy line 6a.) $ 0.00

Qb. Taxes and certain other debts you owe the government (Copy line Gb.) $ 38,010.00

9c. Claims for death or personal injury While you Were intoxicated (Copy line Sc.) $ 0.00

9d. Student loans. {Copy line 6f.} $ 0.00

9e4 Obligations arising out of a separation agreement or divorce that you did not report as

priority claims (Copy line BQ.) 0'00

9f. Debts to pension or profit-sharing plans` and other similar debts. (Copy line 6h.) +$ __ O_OO

99. Total. Add lines 9a through in $ 38,010.00
Oi'Hcia} Form 1068um Summary of Your Assets and Liabilities and Certain Statistica| information

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Case number (."fknown) 17.11043

 

 

 

 

 

 

 

page 2 of 2

Eest Case Bankruptcy

Case 17-11043 Doc 22 Filed 09/29/17 Page 3 of 38

Fill in this information to identify your case and this filing:

 

 

 

Debtor 1 Avery Brad|ey Green

Flrst Narne Middle Name Lasl Name
Debtor 2 _i__"_ _
(Spouse` ifhllngl Flrst Name Middle Name Lasl Narne

Unlted States Bankruptcy Court forthe: lV|lDDLE DlSTR|CT OF NORTH CAROLINA

 

Case number 17~11043 ` i:i Check ifthis is an
amended filing

 

 

Official Form 106A/B
Schedule AIB: Property ms

 

 

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possib|e. |f two married people are filing together, both are equally responsible for supplying correct
|nformation. |f more space is needed. attach a separate sheet to this form. On the top of any additional pagesl write your name and case number (if known).
Answer every question.

m Describe Each Residence, Building, Land, or Other Rea| Estate You Own or Have an interest in

 

1. Do you own or have any legal or equitable interest in any residencel buiiding, landl or similar property?

i:i No‘ Go to Part 21

l Yes\ Where is the property?

1.1 What is the property? Checl»< aii that apply
7103 iVlackintosh Place

 

 

 

 

 

l Singie-fami|y horne Do not deduct secured claims or exemptions Put
Streetaddress, ii available or other description ¢_ - - ~ the amount Of any SeCi_,|rEd Claims 00 Scheduie D.`
i:i Duplex er mm mm bu||d'ng Crediiors Wno Have Ciaims Secured by Property
m Condominium or cooperative
l:l |V|anuiactured or mobile home
_ Current value of the Current value of the
Summei`f|€id NC 27358-0000 |:] Land entire property? portion you own?
City State Z|P Code i:i investment property $524,000.00 $524,000.00
i:i Tirneshare
Describe the nature of your ownership interest
m Other (such as fee simplel tenancy by the entireties, or
Who has an interest in the property? check one a ]'fe estate)» 'f known-
- Debtor 1 only
Guilford i:| painter 2 only
County i:i
Debtom and Debtor 2 amy Check if this is community property
i:i At least one of the debtors and another (see instructional

Other information you wish to add about this iternl such as local
property identification number:

 

 

2. Add the dollar value of the portion you own for all of your entries from Part1, including any entries for
pages you have attached for Part 1. Write that number here ........................................................................... =>

m oescribe Your vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicies you own that
Someone else drives. if you lease a vehicle, also report it on Schedule G.' Executory Contracts and Unexp."red Leases.

$524,000.00

 

 

 

OtHciai Form 106A/B Scheduie AIB: Property page 1
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Case 17-11043 Doc 22 Filed 09/29/17 Page 4 of 38

D€biorl Avery Brad|ey Green

3. Carsl vansl trucks, tractors, sport utility vehicles, motorcycles

i`_`| No
- Yes

3.1 uake; Lexus
Modei; LS460L
Year: 2007

 

 

 

 

Who has an interest in the property? check one

- Debior1 only
m Debtor 2 only

Case number (if known) 17_11043

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Creditors Who Have Claims Secured by Property,

Current value of the Current value of the

 

 

Appro><imaie mii@ag@i _ 175,000 i:i Debtor 1 and Debior 2 only entire PI'OPEFW? P°'Ti°n you OWn?
Oihei informalloni i:i At least one of the debtors and another
i:i Check if this is community property $81500'00 $8)500-00
tsee instructional
32 M k 1 Vo|keswa en Wh h - t f. th ? Do not deduct secured claims or exemptions Put
a E g a o as an m Eres m 9 property Check we the amount of any secured claims on Schedule D:
Nlodel: Beet|e - Debiol- 1 On|y- Creo‘ii‘ors Wbo Have Ciai'ms Secured by Property
Year: 1 2092 m D€biol' 2 D"|i“ Current value of the Current value ot the
Appro)<irnate mileage: _"_jg@l l:] german and Debior 2 Dniy entire property? portion you own?

Other information:

 

 

 

m At least one ofthe debtors and another

i:l Check if this is community property
isee insiruclions)

$2,500.00 $2,500.00

 

 

3_3 rviake: Hariey Davidson
rviodei: Road Glide

Year: 2011
Approximate mileage: S,OOO
Other information:

 

 

Who has an interest in the property? Checl< one

- Debtor1 only

i:i Debtor 2 only

i:i Debtor 1 and Deblor 2 only

i:i At least one of the debtors and another

i:i Check if this is community property
(seo insln.ictions)

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D.'
Crediiors Who Ha ve Ciaims Secureo' by Property

Current value of the
portion you own?

Current value of the
entire property?

$12,000.00 $12,000.00

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Exampies; Boats` trailers, motors, personal Watercraft, fishing vesselsl snowmobilesl motorcycle accessories

l No
ij Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number here ............................................................................. =>

m Describe Your Personal and Househo|d items

 

$23,000.00

 

 

 

 

Do you own or have any legal or equitable interest in any of the following items?

6. Househo|d goods and furnishings

Examples.' |Vlajor appliances. furniture, linens, china, kitchenware

i:i No
l Yes, Describe .....

Current value of the
portion you own?

Do not deduct secured
claims or exemptions

 

l Furniture, appliances, etc.

$1,500.00

 

 

7. Electronics

Exampies.' Teievisions and radios; audio` video` stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including ceil phones. cameras, media players, games

i:i No
Official FOiiTi 196A/B

Schedule A/B: Property

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page 2
Best Case Bankrupicy

Case 17-11043 Doc 22 Filed 09/29/17 Page 5 of 38

Debtor 1 AVQU§rad|ey-Aeen Case number (ifknown) 1']-11043

 

- ¥es. Describe .....

 

|Tvs, computer, Etc. $1,000.00

 

 

B. Collectibies of value
Examples: Antiques and figurines; paintings printsl or other artwork; books, pictures, or other art objects; stamp, coinl or baseball card collections;
other collectionsl memorabilia, collectibles

ij No
- Yes. Describe .....

 

iBooks, Pictures, etc $100.00

 

 

9. Equipment for sports and hobbies
Examples.' Sports, photographic exercise, and other hobby equipment; bicyclesl pool tablesl golf clubsl skis; canoes and kayaks; carpentry tools;
musical instruments

l No
ij Yes. Describe .....

10. Firearms
Exarnples.' F‘istols, riflesl shotgunsl ammunition, and related equipment

- No
ij Yes. Describe .....

11. C|othes
Examples.' Everyday clothes, furs, leather coats, designer Wearl shoesl accessories

|:i No
- Yes. Describe .....

 

lClothing/Personal items l $500.00

 

 

12. Jewe|ry
Exampies.' Everyday jewelry, costume jewelry, engagement rings Wedding rings, heirloom jewelryl Watches. gems, goldl silver

- No
i:l Yes. Describe .....

13. Non-farm animals
Exarnpfes: Dogsl catsl birds, horses

- No
|:i Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
- No

l:l Yes. Give specific information .....

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

 

 

 

 

for Part 3. Write that number here .............................................................................. $3‘100'00
m Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

16‘ Cash
Examples.' Nloney you have in your vva|let, in your horne, in a safe deposit box, and on hand When you hle your petition

l:] No
- Yes ................................................................................................................

Cash $2_@.00

 

Official Form 106A/B Schedule AIB: Property page 3

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DebiOr 1 Ave|'y Brad|ey Green CEJSE number (ifknown] 17_11043

 

17. Deposits of money
Exarnpies.' Checl<ing, savings, or other Hnancial accounts; certificates of deposit; shares in credit unions. brokerage houses and other similar
institutions |f you have multiple accounts with the same institution, list each.
i:i No

- Y€S ........................ lnstitution name:

17.1. checking First Citizens Ban|< $300.00

 

 

18. Bonds, mutual funds, or publicly traded stocks
Exampies: Bond tunds, investment accounts With brokerage tirms, money market accounts

lNo

i;i Yes __________________ institution or issuer name:

19. Non-pub|icly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

 

 

 

 

 

 

i:i No

l ¥es. Give specific information about them ...................
Name of entity: % of ownership
YREVA Erlterprises, LLC 100% % $2,000,000.00
TRi-BROTHERSl LLC 50% % $165,000.00
CHANGE 4 LIFE, LLC 100% % $‘100.00
Green |Vianor Rest Home |nc. 50% ”/u $10.00

 

 

Elite Adolescent Care, lnc. (value to license is
unknown) 100% “/u $1,000.00

 

 

Dri|l Bitl inc. 100% °/u $10,000.00

 

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotr`abie instruments include personal checks, cashiers’ checks, promissory notesl and money orders
Non-negotiabie instruments are those you cannot transfer to someone by signing or delivering them

-No

i;i ¥es. Give specific information about them
lssuer name:

21, Retirement or pension accounts
Exarnpies.' interests in iRA. ER|SA, Keogh, 401 (k), 403(b), thrift savings accounts, brother pension or proHt-sharing plans

-No

i:i Yes. List each account separately
Type of account: institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Exarnples: Agreements with landlords, prepaid rent, public utilities (electric, gas, Water)` telecommunications companies1 or others

-No

i:i Yes. ..................... institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

- No
|:| Yes _____________ issuer name and description

24 interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.

Official Form iOGA/B Schedule A/B: Property page 4
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Debiur‘i Avgry Brad|ey Green CBSE number (ifknown) 17-11043
26 u.s.c. §§ ssorb)ni 529A(b), and szsib)(i).
. No
[:| Yes ___________ institution name and description. Separate|y file the records ofany interests.ll U.S.C. § 521(c):

25. Trusts, equitable or future interests in property iother than anything listed in line 1), and rights or powers exercisable for your benefit
- No
i:i Yes. Give specific information about them...

26. F'atentsl copyrightsl trademarks, trade secrets, and other intellectual property
Exampies: internet domain namesl websites, proceeds from royalties and licensing agreements

- No
i:i ¥es. Give specific information about them..l

27. Licenses, franchises, and other general intangibles
Exampies.' Building permiis, exclusive ltcenses, cooperative association holdings, liquor licenses, professional licenses

- No
i:i Yes. Give specific information about them...

i’\l`|oney or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

28, Tax refunds owed to you
l No

i:i Yes. Give specific information about them, including whether you already filed the returns and the tax years .......

29. Famiiy support
Exampies: Past due or lump sum alimony. spousal support, child support maintenance, divorce settlement property settlement

-No

i:i Yes. Give specific information ......

30. Other amounts someone owes you
Exampies: Unpaid wagesl disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation Social Security
benefits; unpaid loans you made to someone else

l No
i:i Yes. Give specific information..

31. interests in insurance policies
Examples: Healthl disability, or life insurance; health savings account (HSA); credit, homeowner's. or renter’s insurance

-No

i:i Yesr Name the insurance company of each policy and list its value
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
if you are the beneficiary of a living trust, expect proceeds from a life insurance policyl or are currently entitled to receive property because
someone has died.
i:i No

l Yes. Give specific information,.

 

ESTATE OF ZEDD|E B. GREEN estimated value
$3,6'| 5,000.00 subject to claims of approximately
$3,000,000.00 $307,500.00

 

 

 

 

33. Claims against third parties, Whether or not you have filed a lawsuit or made a demand for payment
Exam,oles.' Accidents` employment disputesl insurance ciaims, or rights to sue

-No

i:i Yes. Describe each claim .........

thcial Form iOBA/B Schedule AiB: Property page 5
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Debtori Avery Brad|ey Green Case number (irknown) 17-11043

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
l No
i:i Yes. Describe each claim .........

35. Any financial assets you did not already list
. No

i:i Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here ..................................................................................................................... 521484»110-00

m Describe Any Bi.rsiness~Related Property You Own or Have an interest ln. List any real estate in Part 1.

 

 

37, Do you own or have any legal or equitable interest in any business-related property?
- No` Go to PartB.
i:l Yes. Go to line 38.

Part 61 Describe Any Farm- and Commercia| Fishing-Related Property You Own or Have an interest ln.
if you own or have an interest in farmland list ii in Part i_

 

46 Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
- No. Go to Part 'r'.
i:i Yes. Go to line 47.

prescribe All Property You own or Have an interest in That You bid Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples.' Season tickets country club membership

-No

i:i Yes. Give specihc information .........

54, Add the dollar value of all of your entries from Part 7. Write that number here $0.00

List tim Totals or Each Part orrhis Form

 

 

 

 

 

55. Part 1: Total real estate, iine 2 ...................................................................................................................... $524,000_00
56. Part 2: Total vehicles line 5 MS,OO0.00

57. Part 3: Total personal and household items, line 15 _ $3,100.00

58, Part 4: Total financiai assets, line 36 $2,484,110.00

59. Part 5: Total business-related property, line 45 $D_OO

60. Part 6: Total farm- and fishing-related property, line 52 $O_Y_

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... __$2,510,210,00 Copy personal property total $2,510,210_00
63. Total of all property on Schedule Ai'B. Add line 55 + line 62 $3,034,210_00
Official Form 106A»’B Schedule NB: Property page 6

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Case 17-11043 DOC 22 Fiied 09/29/17

Fill in this information to identify your case:

Page 9 of 38

 

 

 

Debtor1 Avery Brad|ey Green h g f

First Name iviiddle Name Last Name
Debtor 2
(Spouse iii filingi First Name iviidd|e Name Last Name

United States Bankruptcy Court for the:

Case number 17-11043

iViiDDLE DiSTRiCT OF NORTH CAROL|NA

 

 

(if known)

|:i Check if this is an

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

amended hling

12/15

 

Ele as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct information. if more space
is needed, copy the Additional F'age, fill it out, number the entries, and attach lt to this form. On the top of any additional pages, write your name and case

number (if known}.

1. Do any creditors have claims secured by your property?

i:i No. Check this box and submit this form to the court with your other schedules You have nothing else to report on this form.

l Ves. Fill in all of the information below.

m List All Secured C|aims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. . . . . _ Columri A Coiumn B Coiumn C
2. List all secured claimsl ita creditor has more than one secured ciaim, list the creditor separately
for each claim. it more than one creditor has a particular claim, list the other creditors in Part 2, As Amount ofclaim Value of collateral Unsecured
much as possibie. list the claims in alphabetical order according to the creditors name Do not deduct the that supports this portion
value of collateral. claim if any
2_1 ARCPE 1, LLC Describe the property that secures the claim: $2,900,000_00 $4,000,000_00 $O_OO
C""`d"°"$ Name Judgmentl'Di'T against Estate
property
1900 Sunset Harbour Dr. __
As of the date you file, the claim is: check air that
Annex 2nd Floor apply
lilliami Beach, FL 33139 ij Cc,mingem
Number` Streel, City, Siate & Zip Code m Un|iquidated
i:i Dispuled
Who owes the debt'i‘ Check orie. Nature of lien. Check all that apply.
- Debrgr 1 gn|y i:i An agreement you made (such as mortgage or secured
l
i:i Debtor 2 only Car earn
i:i Debtor 1 and Debtor 2 only i:i Statutory lien (such as lax lienl mechanics lien)
i:i At least one of the debtors and another i:i Judgment lien from a lawsuit
i:i Check if this claim relates to a i:i Other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number
2 2 Eiank of America Home
' |_gan Servicing Describe the property that secures the claim: $12,900-00 $524.000-00 $0-00
C'e“"°"$ Name 7103 Niackintosh Piace
Summerfieid, NC 27358 Guilford
County
As of the date ou filel the claim is: k ll int
P.o. sex 31785 am y C“"`° a a
Tampa, FL 3363'| w |:i Comingem
Number. .‘:`»ti'eell City, Stale & Zip Code i:i Un|iquidated
i:i Disputed
Who owes the debt? Check one Nature of lien. Check ali that apply
l Debtor 1 only - An agreement you made (such as mortgage or secured
i:i Debtor 2 only gaf |03")
i:i Debtor 1 and Debtor 2 only i:i Statutory lien (such as tax lienl mechanics lien)
m At iEaSi Ol'i@ Of the defOiS and another - `]Udgmem lien from a |aWSUi[
i:i Check if this claim relates to a i:i Other (inc|udirig a right to offset)
community debt
Date debt was incurred Last 4 digits of account number 614-9
thcial Form 106[) Schedule D: Creditors Who Have Ciaims Secured by Property page 1 of2

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Best Case Bankruptcy

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DEber 1 Avery Brad|ey Green Case number (ifl<nvw) 17-11043
First Name Mi<idie N§r`n`é_ Last Name
Add the dollar value of your entries iri Column A on this page. Write that number here: $2,912,900_00
lt this is the last page of your form, add the dollar value totals from all pages.
Write that number here: $2’912'900'00

 

 

 

m List Others to se Nocified for a oebi That You Aiready Listed

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For examplel if a collection agency ls
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. |f you do not have additional persons to be notified for any

debts iri Part 1, do not fill out or submit this page.

E

Name- N‘~"""i?er- Streett 0th Siaie 8‘ Zip Code On which line in Part 1 did you enter the creditor? 2.1
Walt Pettit

HLlfCi‘linS LaW Firn’l Last 4 digits of account number__

PO Box 2505

Fayettevi||e, NC 28302

 

Official Form tDBD Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 oil

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Case 17-11043 Doc 22 Filed 09/29/17 Page 11 of 38

Fill in this information to identify your case:

 

 

 

l
' D€betl Avery Brad|ey Green
i-'irst Name t\iilddle Name Last Name
Debtor 2 j
(Spouse il, filing) "First Name lvliddle Name Last Name

United States Bankruptcy Court for the: lVllDDLE DlSTR|CT OF NORTH CAROL|NA

 

eCase number 17-11043
iiii<nawn) [:| Check itthis is an
amended filing

 

 

Official Form 106E/F
Schedule EIF: Creditors Who Have Unsecured Claims 12/15

 

Be as complete and accurate as possible Use Part‘l for creditors with PR|OR|TY claims and Part 2 for creditors with NONPR|OR|TY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule AlB: Property (Officia| Form 106A!B) and on
Schedule G: Executory Contracts and Unexpired Leases (Officia| Form 1066). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. |f more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
lel‘t. Attach the Continuation Page to this page. lf you have no information to report in a Part, do not file that Part. On the top of any addltional pagesl write your
name and case number (if known}.

m List A|l of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?
i:i No. Go to Part 2.
- Yes.

2. List all of your priority unsecured claims. lf a creditor has more than one priority unsecured claim, list the creditor separately for each claim For each claim listed,
identify what type of claim lt is. ll a claim has both priority and nonpr`iority amounts list that claim here and show both priority and nonpriority amounts As much as
possib|e, list the claims in alphabetical order according to the creditor's name. ll you have more than two priority unsecured claims. till out the Continuation Page of
Part ‘l. ll more than one creditor holds a particular claim, list the other creditors in Part 3.

 

(For ah explanation of each type of claiml see the instructions for this form in the instruction booklet.)

 

 

 

 

 

Total claim Priority Nonpriority
amount amount
Emp|oyment. Security
2-1 g Cgmmissign Last 4 digits of account number $D-UO $0-00 $O.UO

Priority Creditor's Name mfa
At{n; Tax Dept_ When was the debt incurred?
P.O. Box 26504
Ra|eigh, NC 27611-6504
Nurnber Street City State le Code As of the date you filel the claim is: Check all that apply

Who incurred the debt? Check one |j Comrngent

l Dethr 1 0an l:l unliquidated

i:i Deblor 2 only i:i Disputed

|:| Debmm and Debior 2 Gngy Type of PRlOR|TY unsecured claim:

i:i At least one of the debtors and another |:| D'Jmesiic Supp'm obligations

i:i Check if this claim is for a community debt - Taxes and certain other debts you owe the government

ls the claim subject to offset? i:i Clairns for death or personal injury while you were intoxicated

- NO i:i Other. Specify

i:i Yes

Ofncs`al Form 106 EIF Schedule ElF: Credltors Who Have Unsecured Claims Page1 of4

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Dethl"i Ave|'y Brad|ey Green CE|SE number (itknow) 17-11043
`2-2 Guilford Co. Tax Departm_ent Last4 digits Of account number $31,000.00 $31,000.00 $0.00
Prlority Creditor's Name
P_O_ Bg)¢ 3323 When was the debt incurred?
Greensboro, NC 27402 V_
Number Streel City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one |:] Contingent
- imbth 0an l:| unliquidated
i:i Deblor2 only i;i Disputed
|:| Deb;mi and Deb;m 2 univ Type of PRtORlT\' unsecured claim:
i:i At least one of the debtors and another m Domestic Support Obligati'~'ms
i:i Check if this claim is for a community debt - Taxes and certain Other debts you owe the government
ls the claim subject to offset? i:i Ciaims for death or personal injury while you were intoxicated
- NG i:i Other. Specify
[:l Yes 2016 Taxes
_2_,;: |nterna| Reverjue Service Last4 digits of account number $10.00 $O.DO $10.00
Prlority Creditor's Name
P_O_ Box 1346 When was the debt incurred?
Phi|ade_|phia, PA19101-7346
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one [] Contingent
- Debtor 1 only i:i Unliquidated
i:i Deblor 2 only i:i Disputed
\:| Debjori and Debjor 2 Dn;y Type of PR|OR|TY unsecured claim:
ij At least one of the debtors and another m DGm€StiC Support obligations
i:i Check if this claim is for a community debt - Taxes and certain other debts you owe the government
ls the claim subject to offset? i:i Ctaims for death or personal injury while you were intoxicated
- No i:i Other. Specify __
i:i Yes
NC D@pt_ of Revenue Last 4 digits of account number $7,000.00 $0.00 $7,000.00

 

Prlority Creditor's Name
P.O. Box 1168

Raleigh, NC 27640
Number Street City State le Code

Who incurred the debt? Check one

- Debior1 only

i:i Deblor 2 only

l:| Deblor 1 and center 2 only

i:i At least orie of the debtors and another

i:i Check it this claim is for a community debt
is the claim subject to offset?

l No
i:i Yes

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

i:i Contingent

l:| unliquidated

i:i Disputed

Type of PRlORlT\’ unsecured claim:

i:i Domestic support obligations

- Taxes and certain other debts you owe the government

ij Clalms for death or personal injury while you were intoxicated

i:i Other. Specity

 

2007 Tax i'_ien

 

m List All of Your NONPR|OR|TY Unsecured Claims

3.

Ofnctal Form 106 Ei‘F
Solhriare Copyrlght (c) 1996-2016 Elest Case, LLC - wwwlbestcase.com

Do any creditors have nonpriority unsecured claims against you?

i:i No. ¥ou have nothing to report in this part Submit this form to the court with your other schedules

. Yes.

List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than orie nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listedl identify what type of claim it is Do not list claims already included in Part 1. ll‘ more
than one creditor holds a particular claim. list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims ii|| out the Continuation Page of

Part 2,

Total claim

Schedule EIF: Creditors Who Have Unsecured Clairns

Page 2 of4

Basl Case Bankruplcy

Debtor 1

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Avery Brad|ey Green

Case number (ii know) 17-11043

 

 

E:| ABLP RE|Tl LLC

 

Nonpriority Creditor's Name
3390 Auto Nia|| Drive
West Lake Vil|age, CA 91362

 

Number Street City State le Code
Who incurred the debt? Check one

l Debtor1 only

l:i Debtor 2 only

ij Debtor 1 and Debtor 2 only

l:i At least one ot the debtors and another

m Check if this claim is for a community
debt
ts the ciaim subject to offset?

'No

l:i Yes

Last 4 digits of account number

$2,100,000.00

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

l:l Contingent
E| Unliquidated

L__l Disputed
Type of NONPR|OR|TV unsecured claim:

m Sludent loans

|:l Obligations arising out ot a separation agreement or divorce that you did not
report as priority claims

\:| Debts to pension or profit-sharing plansl and Other similar debts
DlT against reai property at 4501 Old

Battlegrouncl Ave owned by Yreva
- th€i- SP€CWY Enterprises, LLC

 

 

 

 

 

 

 

 

.
' lVlodern Concepts and Equlpment,
4.2 LLC m Last 4 digits of account number $300.00
Nonpriori`ty Creditor`s Name
1833 Neel|ey Road When was the debt incurred?
Pleasant Garden, NC 27313
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l oebtor 1 only l:l contingent
|:l oebtor zonly i:| unliquidated
m Debtor 1 and Debtor 2 only |:l Disputed
m At least one of the debtors and another Type of NONFR|OR'TY unsecured claim:
m Check if this claim is for a community m Studem loans
debt [:l Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- NO m Debts to pension or proof-sharing plans, and other similar debts
l:l ¥es - Other. Specify
l4‘3 Wells Fargo Last 4 digits of account number $1,900_00

 

Nonpriority Creditor`s Name
P.O. Box10335

Des lV|oines, lA 50306
Number Street City State le Code

Who incurred the debt? Check one.

- Debtori only

l:| Debtor 2 only

l:l Debtor1 and Debtor 2 only

m At least one of the debtors and another

l:i Check if this claim is for a community
debt
ls the claim subject to offset?

- No
l:l Yes

When WaS the debt incurred?

 

As of the date you file, the claim is: Check all that apply

l:l contingent
l___l unliquidated

i:i Disputed
Type of NONPR|ORIT‘( unsecured claim:

l:l Student loans

l:l Gbligations arising out ol a separation agreement or divorce that you did not
report as priority ciaims

m Debts to pension or profit-sharing plans and other similar debts

l ethel Spec;ry Credit Card Transactions

 

 

ml List others to Be No_tified About a Del:it That you Already Lieted

5. Llse this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, ita collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Slmi|arlyr if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. lf you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Official Form 106 Ei'F
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Schedule Ei'F: Creditors Who Have Unsecured Claims

Page 3 of 4
Besi Case Bankruplcy

Debtor 1

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Avery Brad|ey Green

 

Add the Amounts for Each Type of Unsecured Claim

Case number (ii nnow)

 

17-11043

 

 

B. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only_ 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

Total
claims
from Part 1

Total
claims
from Part 2

Official Form 106 E!F

63

Gb.
6c
Ed.

ES.

Sf.

Bg.
oh

6i.

oi.

Dorriestic support obligations

Taxes and certain other debts you owe the government
Clairns for death or personal injury while you were intoxicated

Other. Add all other priority unsecured claims Write that amount here.

TDtEtl Prlority. Add lines 63 through 6£1.

Sl'.leel'lf loans

Ob|igations arising out of a separation agreement or divorce that
you did not report as priority claims
Debts to pension or profit-sharing plansl and other similar debts

Other. Add all other nonpriorily unsecured claims Write that amount
here.

Total Nonpriority. Add lines cf through Ei.

Schedule EiF: Creditors Who Have Unsecured C|aims

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63.

Sb.
BC..
60‘.

68.

61.

Bh.

Bi.

oil

 

 

 

 

Total Claim
t _U-OO
5 38,010.00
5 0.00
$ _0-09
s 38,010.00
Total Claim
t ________st
s 0.00
$ 0.00
$ 2,102,200.00

 

 

5 2,102,200.00

F'age 4 of 4
Besl Case Eiankruptcy

Case 17-11043 DOC 22 Filed 09/29/17 Page 15 of 38

 

Fill in this information to identify your case:

 

 

Debt°'t A!_erv B_ra¢Ler_Gree“

'Elrst Name Midd|e Name Last Name
Debtor 2 W_m___h__”*i
tSpouse lt fillng) _Flrst Name Mlddle Name Last Name

United States Bankruptcy Court torthe! M|DDLE DlSTR|CT OF NORTH CAROL|NA

 

Case number 17_11043
rrritnnwn) |:| Check if this is an
amended filing

 

Official Form 1066
Schedule G: Executory Contracts and Unexpired Leases 12:15

 

Be as complete and accurate as possibfe. lf two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed. copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pagesl write your name and case number (if known).

1. Do you have any executory contracts or unexpired |eases?
- No. Check this box and file this form With the court with your other schedules You have nothing else to report on this form.
l:l Yes. Fill in all of the information below even ifthe contacts of leases are listed on Schedule A/B.'Prope.'ty (Official Form 106 A.'B).

2‘ List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
examp|e, rent, vehicle leasel cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name‘ Number, Streal` Ciiy, State and ZlP Code
2.1
Name
Number Street
City State ZlP Code
2.2
Name
Numbet Slreet
City State Z|P Code
2.3
Name
Number Street
Ht`yk _` _ ___ slate er gqu
2.4
Name
Number Street
City State Z|P Code
2.5
Name
Number Street
Ciry State Z|P Code
Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

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Case 17-11043 DOC 22 Filed 09/29/17 Page 16 ot 38

Fitl in this information to identify your case:

 

 

 

.Deblofl Avery Brad|ey Green+ j n j

’ First Name tvliddle Name Last Name _
Debtor 2 _ j
tSpouse it, tiling) First Name Nllddle Name Last Name

United States Banl<ruptcy Court for the: MlDQLE DlSTRlCT OF NORTHVCAROL|NA

 

Case number 17_11043

rifi<nowni |:| Check it this is an
amended iling

 

 

Official Form 106l-l
Schedule H: Your Codebtors 12r1s

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. if two married
people are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additiona| Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (|f you are filing a joint case, do not list either spouse as a codebtor.

- No
l:l Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Communitypropeity states and territories include
Arizonal California, ldaho, Louisiana, Nevada, New lVlexico. Puerto Rico, Texas, Washington, and Wisconsinr}

l No. co to line 3.
l:l Yes. Did your spouse former spouse, or legal equivalent live with you at the time?

3. ln Co|umn1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Nlake sure you have listed the creditor on Schedule D (Ot"ficial
Form 1060), Schedule ElF (Officiat Form 106EIF), or Schedule G (Officia| Form 1066). Use Schedule D, Schedule EtF, or Schedule G to fill
out Co|umn 2.

Column 1: Vour codebtor

Name` Number, Sireet, Cilyl State and ZlP Code

 

 

Cotumrr 2.' The creditor to whom you owe the debt
Check all schedules that apply:

l:l Schedule D, line

 

 

 

 

Name ij schedule ErF, line
l:l Schedule G, line
Number Street
Cilr slate ziP code
32 l:l Schedule D, line
Name l:l Schedule EtF, line
El schedule or line h
Number Street u~ __ _______
city slate ziP code

Official Form 106H
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Schedule H; Your Codebtors Page 1 of 1

Best Case Bankruptcy

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Fill in this information to idenii

 

Debtor 1 Avery Brad|ey Green

 

_ Debtor 2
' (Spouse_ if tillng)

 

 

Case number 17-1'1043 Check if this is:

 

lUnited States Bankruptcy Court forthe: lVllDDLE DlSTR|CT OF NORTH CAROL|NA \
l

 

ilfknownl l:l An amended filing
l___l A supplement showing postpetition chapter
13 income as of the following date:
Ofl:lclal Form 106| MN|/D[J/ YYYY
Schedule |: Your income 12115

 

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. lfyou are married and not filing joint|y, and your spouse is living with you, include information about your
spouse. lf you are separated and your spouse is not filing with you, do not include information about your spouse. |f more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known}. Answer every question.

Describe Employment

1. Fill in your employment

 

information Debtor 1 Debtor 2 or non-filing spouse
|f you have more than one job, E l l Emp|oyed l:l En'lployed
attach a separate page with mp °Vmem Status
information about additional l:l Not employed g Not employed
employers _
Occupatlon unemployed

 

include part-time, seasonall or .
self-employed work. Empl°ltel' 5 name

 

Occupation may include student Empl°ltel"$ addreSS
or homemaker, if it applies

 

How long employed there?

m Give Detai|s About lltlonthly income

 

Estimate monthly income as of the date you file this form. lf you have nothing to report for any |ine` Write $O in the space include your non-filing
spouse unless you are separated

lfyou or your non-filing spouse have more than one employee combine the information for all employers for that person on the lines below, lf you need
more space, attach a separate sheet to this form.

For Debtor1 For Debtor 2 or
non-filing spouse

 

List monthly gross wages, salaryl and commissions {before all payroll

 

 

 

2- deductions). lf not paid monthly calculate what the monthly wage would be, 2- $ 0'00 $ NIA
3. Estimate and list monthly overtime pay. 3. +$ 0.00 +$ NIA
4. Calculate gross lncome. Add line 2 + line 3` 44 $ 0.00 5 NIA

 

 

 

 

Official Form 1061 Schedule l: Your Iiicome page l

Debtor ‘i Avery Brad]ey Green _ Case number (i'l‘known) 17-11043
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 here_____________________ ________ __ 4. $ 0.0D $ NIA
5. List all payroll deductions:
5a Taxl Medicare, and Social Security deductions 5a. $ 0.00 $ NiA
5b iiliandatory contributions for retirement plans 5b. $ 0.00 5 Ni'A
Bc. Voluntary contributions for retirement plans Bc. $ D,OO $ NlA
5d. Required repayments of retirement fund loans 5d. $ D.OU $ NlA
5e. insurance 56» $ 0.00 $ N/A
5f. Domestic support obligations Sf. $ 0.00 $ Ni'A
59. Union dues 59- $ 0.00 $ Ni'A
5h. Other deductions Speclfy: 5h.+ $ 0.00 + $ NIA
6. Add the payroll deductions Add lines 5a+5b+50+5d+5e+5f+5g+5h. 6. 5 0.00 $ N/A
Caicuiate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0.00 $ NIA
8. List all other income regularly received:
Ba. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a $ 0.00 $ NlA
Bb. interest and dividends Bb. $ 0.00 $ Nl'A
Bc. Famiiy support payments that you, a non-filing spousel or a dependent
regularly receive
include alimony, spousal support, chl¥d suppolt, maintenance divorce
settlementl and property settlement Bc. 3 D.OO $ Ni'A
Bd. Unemployment compensation Bd. $ 0_00 55 Nl'A
Be. Socia| Security SE. $ 0_00 $ Ni'A
Bf. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps {benents under the Supplemental
Nutrition Assistance Program) or housing subsidies
Specify: Bf. $ 0.00 $ Ni'A
Bg. Pension or retirement income Bg- 3 0.00 $ Ni'A
Bh. Other monthly income. Specify: Bl'l.+ 55 0.00 + $ NIA
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h. 9. $ 0.00 $ Nl'A
10. Caicuiate monthly income. Add line 7 + line 9. 10. $ 0.00 + $ N,tA = $ D.DO
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-fiting spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members of your household, your dependents your roommates, and
other friends or relatives.
Do not include any amounts already inciuded in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Speclfy: 11. +$ 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Stati`stical Summary of Certain i_r`abi`li`ties and Related Data, if it
applies 12. $ 0.00
Combined
monthly income
13. Do you expect an increase or decrease within the year after you file this form?
|:| No.
l YSS- E><i>lainl oebtor anticipates business interest change 4 Life, LLC will get contract from state and will draw
incoimhe”from operations
Ofi`lcial Form lOol Schedule i: Your income page 2

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Fill in this information to identify your case:

 

 

 

 

Dethl‘ 1 Avery Brad|ey Green ChBCk if this iS:

ig [:| An amended filing
Debtor 2 ij A supplement showing postpetition chapter
(Spouse_ if filing) 13 expenses as of the following date:
United States Banl<ruptcy Court for thai NiiDDLE DiSTR|CT OF NORTH CAROL|NA Nil\/i l DD l YYYY

 

Case number 17-11043

(|f known)

 

 

 

Official Form 106J
Schedule J: ¥our Expenses one

 

 

Be as complete and accurate as possib|e. if two married people are filing together, both are equally responsible for supplying correct
information. |f more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Vour Household

 

1. is this a joint case?

l Ne. se le line 2.
i:l Yes, Does Debtor 2 live in a separate household?

i:l No
i:i Yes. Debtor 2 rnust file Official Form 106J-2. Expenses for Separate Househoid of Debtor 2.

2. Do you have dependents? l NQ

 

 

 

 

Do not list Debtor 'i and |:] Yes_ Fill out this information for Dependent's relationship to Dependent’s Does dependent
Debtor 2_ each dependent.............. Debtor 1 or Debtor 2 age live with you?
Ae,,a k.;;;, 1.'.:. '.….…l ta;ge_,;atl

Do not state the m NO
dependents names. |:] Yes

l:l No

l:l Yes

|:l No

i:l Yes

i:l No

l:i Yes

3. Do your expenses include - NO

expenses of people other than

yourself and your dependents? m yes

Estimate ‘(our Ongoing Month|y Expenses

 

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. if this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule l: Your income
(otrieial Form 106|.) c 7 _ Your excesses __

_lv

     

4. The rental or home ownership expenses for your residence. include first mortgage

 

 

 

 

payments and any rent for the ground or lott - 55 21340'00

if not included in line 41

4a. Real estate taxes 4a $ 0_00

4b. Property. homeowner’s, or renter‘s insurance 4b. $ 0.00

4c. Home maintenance repairl and upkeep expenses 4c. $ 50.00

4d. Homeowner‘s association or condominium dues 4d. $ 0_00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0_00

Official Form 106.] Schedule J: Your Expenses page 1

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Debtor t Avery Brad|ey Green Case number (it known) 17-11043
6. Utilities:

6a Electricity` heat natural gas 6a $ 210.00

6a Water, sewerl garbage coiiection Gb. $ 0.00

Bc. Te|ephone` cell phone, |nternet. satellite. and cable services 6c. $ 230.00

Sd. Other. Specify: Gd. $ 0.00
7. Food and housekeeping supplies 7. $ 250.00
8. Childcare and children’s education costs 8. $ D.OU
9. C|othingl laundry, and dry cleaning 9. $ 50.00
10. Persona| care products and services 10. $ 40.00
11. |li'ledical and dental expenses 11. $ 0.00
12. Transportation. include gas, maintenance bus ortrain fare

Do not include car payments 12- 5 250'00
13, Entertainrnent, clubs, recreation, newspapers, magazines, and books 13. $ 50.00
141 Charitable contributions and religious donations 14. $ 240.00
15. lnsurance.

Do not include insurance deducted from your pay or included irl lines 4 or 20.

16a Life insurance 153. $ 0.0D

15b Heaith insurance 15b. $ 1,200.(]0

15c. Vehic|e insurance 156. $ 400.00

15d. Other insurance. Specity; 15d. $ 0_00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0_00
17. installment or lease payments:

17a Car payments for Vehic|e ‘l 17a. $ 0.00

17b. Car payments for Vehicle 2 i7b. $ 0_00

1?c. Other. Specity: 17c. $ 0.00

17d. Other. Specify: 17d. $ 0_00
18. Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule .l, Your income (Official Form 106|). 13- $ 0‘00
19. Other payments you make to support others Who do not iive with you. $ 0_00

Speoity: 19.
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule i: Your income.

20a. lVloltgages on other property 20a $ 0_00

20c. Rea| estate taxes 20|.'>. $ 0_00

20cl Property, homeowner’s, or renter's insurance 20c. $ 0_00

20d. l\/laintenancel repair, and upkeep expenses 20d. $ 0_00

20e. Homeowner's association or condominium dues ZOe, $ 0_00
21. Other: Specify: 21~ +$ 0_00
22. Caicuiate your monthly expenses

22a. Add lines 4 through 21. $ 5,310.00

22b. Copy line 22 (monthly expenses for Debtor 2), if any` from Official Form 106J-2 $

22c. Add line 22a and 22b. The result is your monthly expenses $ 5,310.00
23. Caicuiate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule l. 23a $ 0_00

23b. Copy your monthly expenses from line 220 above. 23b. -$ 5,310_00

230. Subtract your monthly expenses from your monthly income. 23a $ _5’310_00

The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For examp|e. do you expect to finish paying for your car loan Within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage'?

l No.

 

 

|:i Yes. |Explain here:

Official Form 106J

Schedule J: Your Expenses

page 2

Case 17-11043 Doc 22 Filed 09/29/17 Page 21 of 38

Fill irl this information to identify your case:

 

 

 

 

Deber l Avery Brad@“Green

First Name Middle Name Last Name
Debtor 2
tSpouse if, iiilng) First Name Nliddle Name Last Name

United States Bani<ruptcy Court forthe'. lVllDDLE DlSTRlCT OF NORTH CAROL|NA

Case number 17-1'1_(_)143
|:| Check if this is an

tit known)
amended filing

 

Official Form 106Dec
Declaration About an individual Debtor's Schedules net

if two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Nlaking a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

- Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms'?

 

l No
|:| Yes. Name of person Attach Bankruptcy Petitl'on Preparer‘s Notl`ce,
Declarafion, and Sr'gnature (Ofi'lcial Form 119)

Under penalty of perjury, l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct.

X

 

X lsi Avery Brad|ey Green

Avery Brad|ey Green
Signature of Debtor 1

Signature of Debtor 2

Date

 

Date _Septem ber 29, 2017

Official Form 106Dec Declaration About an individual Debtor's Schedu|es

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Besl Case Bankruptcy

Case 17-11043 Doc 22 Filed 09/29/17 Page 22 of 38

Fill in this information to identify your case:

 

 

l

iDebtor l Avery Bradiey Green

| First Name Mledle Name test Name
1 Debtor 2

 

' (Spouse ifl tiling) First Name Middle Name Last Name

iUnited States Bankruptcy Court for the: N'llDDLE DlSTRlCT OF NORTH CAROL|NA

 

l

iCase number 17-11043

|tifltnewni |:| Check if this is an
1 amended tiling

 

 

Official Form 107
Statement of Financia| Affairs for individuals Filing for Bankruptcy 4116

 

Be as complete and accurate as possible if two married people are filing together, both are equally responsible for supplying correct
information. if more space is neededl attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Give oetails About Your Maritel states and where Yeu l_ived eefere

1. What is your current marital status?

i:i |V|arried
- Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

- No

l:l Yes. List all of the places you lived in the last 3 years Do not include where you live now.

Debtor1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Comrrlunl`ty property
states and territories include Arizona, Caiifornia` idahol Louisianal Nevadal New l`\iiexico, Puerto Rico, Texas, Washington and Wisconsin.)

- No
1:| Yes. l‘\iiake sure you fill out Schedule H.' Your Codeblors (Official Form 106H)_

m Explain the Sources of Your income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from ali jobs and all businesses including part-time activities
if you are fiiing a joint case and you have income that you receive together` list it only once under Debtor 1.
i:l No
l yes Fill in the details

 

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (betore deductions and Check all that apply. (before deductions
exciusions) and exclusions)
FFOm January 'l of Current year U"'ti' 1:1 Wages, commissions $-125,000.00 l:l Wages, commissionsl
the date you filed for bankruptcy: bonuses` tips bonuses_ tips
l operating e business |:i Operafirlg a business
Official Form 107 Statemerlt of Finarlcial Affairs for individuals Filing for Bankrupi;cy page 1

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Case 17-11043 Doc 22 Filed 09/29/17 Page 23 of 38

Debtor1 _/_xvery Brad|ey Green

Debtor 1

Sources of income
Check all that apply.

Case number rirlrnawn)

Gross income
{before deductions and
exciusions)

1 7-1 1043

Debtor 2

Sources of income
Check all that app|y.

Gross income
(before deductions
and exclusions)

 

For last calendar year: l:i Wagest commissions $-255,000.00 i:l Wagesl commissions
(January 1 to December 31, 2016 ) bonuses` tips bonuses` tips

l Operating a business |:l Operating a business
For the calendar year before that: |:| Wages, Commissions' $_334’803_00 m Wages‘ Commissions`

(January 1 to December 31, 2015}

bonuses tips

- Operating a business

bonuses, tips

E| Operating a business

 

5. Did you receive any other income during this year or the two previous calendar years?

lnclude income regardless ofwhether that income is taxabie. Examptes of other income are alimony; child support; Socia| Securityl unemployment
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings if you are filing a joint case and you have income that you received together` list it only once under Debtor 1.

List each source and the gross income from each source separate|y. Do not include income that you listed in fine 4.

- No
ill yes Fill in the details

Debtor 1
Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

m List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor1’s or Debtor 2's debts primarily consumer debts'?

Debtor 2
Sources of income
Describe below.

Gross income
(before deductions
and exclusions)

- No. Neither Debtor1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as "incurred by an
individual primarily for a personal, farniiy` or household purpose."
During the 90 days before you Hied for bankruptcy did you pay any creditor a total of $6,425* or more?

iii Ne. caroline r.

- Yes List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Aiso, do
not include payments to an attorney for this bankruptcy case

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment

1:1 Yes. Debtor1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcyl did you pay any creditor a total of $600 or more?

[:| No.
m Yes

Go to line 7.

List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not

include payments for domestic support obligations such as child support and alimony. A|so, do not include payments to an

attorney for this bankruptcy case

Creditor's Name and Address

Bank of America Home Loan
PO Box 31785
Tampa, FL 33631

Dates of payment

7127/17, 8»'27!17

Total amount
paid

$8.534.00

 

Ofncial Form 107

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Statement of Final'lcial Affairs for individuals Filing for Bankruptcy

Amount you
still owe

$12,900.00

Was this payment for

- lViortgage

l:| Car

l:i Credit Card

i:| Loan Repayment

|:i Suppliers or vendors
i:i Other_

 

page 2

Best Case Barikruptcy

Case 17-11043 Doc 22 Filed 09/29/17 Page 24 of 38

Debtor 1 Avery Brad|ey Green Case number (irirnown) 17-11043

 

Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your reiatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer. director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for

a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligationsl Such as child support and
alimony

- No

i:i ¥es. List ali payments to an insider.

|nsider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
include payments on debts guaranteed or cosigned by an insider.

l No

i:i Yes. List ali payments to an insider

insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe include creditor's name

m identify Legaf Actions, Repossessions, and Forec|osures

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9. Within 1 year before you filed for bankruptcy, were you a party in any iawsuit, court action. or administrative proceeding?
List all such matters. including personal injury cases, small claims actions, divorces collection suits. paternity actions. support or custody
i'i'lodificationsl and contract disputes.
i:i No
l Yes. Fill in the details
Case titie Natu re of the case Court or agency Status of the case
Case number
|:| Pending
i'_'| On appeal
i:i Conciuded
Estate of Zeddie Green Estate resolution Robeson County, North l pending
17 E. 518 Ca"°"na i:i On appeal
i:i Conciuded
ARCPE 1, LLC v. Green manor Lawsuit Robeson County North l pending
Rest Home, inc and Avery Brad|ey Caroiina jj On appeal
Green m
C i d d
16 CvS 2605 eric u e
10. Within 1 year before you filed for bankruptcy, Was any of your property repossessed, foreclosed, garnished, attached, seized, or |evied?
Check ali that apply and fill in the details beiow.
i:i No. Go to line 11.
- ¥es. Fill in the information below.
Creditor Name and Address Describe the Property Date Vaiue of the
_ Property
Explain what happened
ARCPE 1, LLC Sheriff seized 2003 VW returned to debtor September 10, $2,500.00
1900 Sunset Harbour Dr. post-petition 2017
Annex 2nd F|ooil
Niiami Beach, FL 33139 i;i Property was repossessed
i:i Property was foreclosed
i:i Property was garnished
l Property was attachedl seized or |evied.
Official Form 107 Statement of i`-‘inanciai Affairs for individuals Filing for Bankruptcy page 3

Eiest Case Bankruptcy

Case 17-11043 Doc 22 Filed 09/29/17 Page 25 of 38

Debtor i Avery Brad|ey Green Case number iiri<ndwni 17-11043

 

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your

accounts or refuse to make a payment because you owed a debt?
- No

i:i Yes. Fill in the details

Creditor Name and Address Describe the action the creditor took Date action was
taken

Amount

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another officia|?
- No
i:i Yes

m l_ist certain cuts and contributions
13, Within 2 years before you filed for bankruptcyr did you give any gifts with a total value of more than $600 per person?
- No
i:i Yes. Fill in the details for each gift.
Gifts with a total value of more than $600 Describe the gifts Dates you gave Vaiue
per person the gifts

Person to Whom You Gave the Gift and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity"r‘
- No
i:i Yes. Fill in the details for each gift or contribution

Gifts or contributions to charities that total Describe what you contributed Dates you
more than $600 contributed
Charity‘s Name

Addre$$ (Numi.lerl Stree!, City, State and ZiP Code)

List Certain Losses

Vaiue

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcyl did you lose anything because of theft, fire, other disaster,

or gambling?
. No
i:i Yes. Fill in the detaiis.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Vaiue of property

how the loss occurred include the amount that insurance has paid. List pending loss lost
insurance claims on line 33 of Schedule A/B.' Property.

-i_ist Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any attorneys bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy

i:i No
l Yes. Fill in the details

Person Who Was Paid Description and value of any property Date payment Amount of

Address transferred or transfer was payment
Emai| or website address made

Person Who Made the Payment, if Not \’ou

Pt'iillip E. Boiton $9,749.00 held in trust 911 512017 $9,749.00
622-C Guilford Coiiege Rd

Greensboro, NC 27409

phillip@bo|t|aw.net

 

Ochiai Form 107 Statement of Financia| Affairs for individuals Filing for Bankruptcy page 4

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Case 17-11043 Doc 22 Filed 09/29/17 Page 26 of 38

DEbiOri Avery Brad|ey Green

Case number iirimowni 17-‘]1043

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

l No
l:i Yes. Fill in the detaiis.
Person Who Was Paid

 

Description and value of any property Date payment Amount of
Address transferred or transfer was payment
made
iB. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.
ij No
l Yes Fill iri the details.
Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made
paid in exchange
Person's relationship to you
unrelated buyer 1985 Porsche 930 2015
$79,000.00
19.

Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a

beneficiary? (These are often called asset-protection devices.)

- No
i:i Yes. Fill in the details
Name of trust

Description and value of the property transferred Date Transfer was

made

List of Certain Financiai Accounts, instrumentsl Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,

soid, moved, or transferred?

include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension fundsl cooperativesl associations, and other financial institutions

- No
ill Yes. Fill in the details

Name of Financiai institution and

Address iNumher, sireet, city, state and zli=
Coda]

Last 4 digits of

Type of account or Date account was Last balance

account number instrument ciosed, soldl before closing or
moved, or transfer
transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcyl any safe deposit box or other depository for securitiesl

cash, or other valuables?

- No
iIi Yes. Fill in the details

Name of Financiai institution
Address (Number. slreet. city. state and zll= cadet

Who else had access to it?

Address iNumher, street, city,
State and ZiP Code)

Describe the contents Do you stiii

have it?

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

- No
i:i Yes. Fill in the details.

Name of Storage Facility
Address (Numi:ler, Street, City, State and ZiP Code)

OiHCiB| FOl'iTl 107

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Who else has or had access

Describe the contents Do you still
to it? have it?
Addre$$ lNurnber, Straet, City.
State and ZiP Code)
Statement of Financiai Affairs for individuals Filing for Bankruptcy page 5

Besi Case Ean|<ruptcy

Case 17-11043 Doc 22 Filed 09/29/17 Page 27 of 38

Debtor1 Avery Brad|ey Green _ Case number irrirnewnj 17-11043

 

 

m identify Property You Hold or Controi for Someone Else

 

 

23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing forl or hold in trust
for someone.

- No

ij Yes Fill in the details

Owner's Name Where is the property? Describe the property Vaiue
Address iNurnber, streetl city. stale and zlP cedar iN“mb€r~ 5freef. Cifih State and ZiP

Code}

m Give Detaiis About Environmentai information

 

For the purpose of Part 10, the following definitions apply:

l Environmentai law means any federa|, state, or local statute or regulation concerning poliution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, iand, soii, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances wastes, or materiai.

- Si'te means any locationl facility, or property as defined under any environmental lawl whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

- Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substancel
hazardous materiai, poilutant, contaminant, or similar term.

Report all notices, reieases, and proceedings that you know about. regardless ofwhen they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental |aw?

- No

Ei Yes Fill in the details

Name of site Governrnental unit Environmentai law, if you Date of notice
Address iiiumlner, street city, state and zlP cadet Address iNurnt»er. street clty. state and know lt

ZiP Code)

25. Have you notified any governmental unit of any release of hazardous materia|?

l No

iZi Yes Fill in the details

Name of site Governmentai unit Environmentai iaw, if you Date of notice
Address iNurnber, Street, city, slate and zlP cedar Address iNurnber, streetl city, state and know it

zlP cede)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? lnciude settlements and orders.

- No

ij Yes. Fill in the details.

Case Tit|e Court or agency Nature of the case Status of the
Case Number Name case

Address (Number. Street. City,
State and ZiP Code}

m Give Detaiis About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
- A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
i:i A member of a limited liability company (LLC) or limited liability partnership iLLP)
i:i A partner in a partnership
i:i An officer, director, or managing executive of a corporation

Ei An owner of at least 5% of the voting or equity securities of a corporation

Official Form 10ir Statement of Financiai Affairs for individuals Filing for Bankruptcy page B

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Case 17-11043 Doc 22 Filed 09/29/17 Page 28 of 38

Debtor i Avery Brad|ey Green Case number iiiindwn) 17-11043

 

i:i No. None of the above applies. Go to Part12.

- Ves. Check ali that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Emp|oyer identification number

Address Do not include Sociai Security number or lT|N.
(Nl.|l'nber, SfrEEf, Cify, State a|'ld Z§P C(lde] Name cf accountant Or bookkeeper

Dates business existed

 

 

 

 

 

Elite Adoiescent Care, inc. Treatement Center EiN:

DfBi'A Youth Spring Treatrnent

Center Koonce, Wooten & Haywood, LLP Fme'TU

4501 Oid Batt|eground Road P.O. Box 17806

Greensboro, NC 27410 Ra|eigh, NC 27619

YREVA Enteprises, LLC EiN:

72013 Mackintosh Piace

summerfieldl Nc 27353 Fme-TO

Tri-Brothers, LLC real estate holding EiN:
From-Tci

Change 4 Life, LLC Operate half-way house E|Nl
From-To

Dri|l Bit, inc. EiN:
From-To

Green lVianor Rest Home, inc. EiN:
From-To

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? include all financial
institutions, creditors, or other parties

- No
iIi Yes Fill in the details below.

Name Date issued
Address
iNumber, Street, Cityl State and ZIF Code]

m Sign Beiow

l have read the answers on this Statement ofFinanci'at Affai'rs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. i understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

tsi Avery Bradiey Green

Avery Brad|ey Green Signature of Debtor 2
Signature of Debtor1

 

Date September 29, 2017 Date

 

 

Did you attach additional pages to Your Statemerlt of Financiai Affai'rs forindi'viduai's Filing for Bankruptcy (Officiai Form 107)?
- No

|:i Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

l No
i:i Yes. Name of Person . Attach the Bankruptcy Peti`tion Preparer's Noti`ce, Declarati`on, and Si`gnature (Official Form 1 19).
Official Form 107 Statement of Financiai Af‘fairs for individuals Filing for Bankruptcy page 7

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Case 17-11043 DOC 22 Filed 09/29/17 Page 29 of 38

Fi|i in this information to identify your case:

Debtor1 Avery Bradiey Green

 

Debtor 2
(Spouse` if fliing)

 

United States Bankruptcy Courtfor the: thiddle District of North Caroiina

 

 

 

 

Case number 17-11043 i:i Check if this is an amended filing

(ifknown) __

Official Form 122B

Chapter 11 Statement of Your Current Monthly income 12/15

 

You must file this form if you are an individual and are filing for bankruptcy under Chapter11. if more space is needed, attach a separate
sheet to this form. include the line number to which the additional information applies. On top of any additional pages, write your name and
case number (if known).

m Caicuiate Your Current Monthly income

‘i. What is your marital and filing status? Check one on|y.

- Not married. Fill out Co|umn A, lines 2-11.

i:i Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

i:i Married and your spouse is NOT filing with you. Fill out Co|umn A, lines 2-11.

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the B-month period Would be March 1 through August 31. lfthe amount
of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result DO not include any
income amount more than once. For examplel if both spouses own the same rental property, put the income from that properly in one column only. if
you have nothing to report for any |ine, write $O in the space

 

Coiumn A Coiumn 8
Debtor 1 Debtor 2
2. Your gross wages, saiary, tips, bonuses, overtime, and commissions (before ali
payroll deductions). _ 0.00 $

 

3. Aiimony and maintenance payments. Do not include payments from a spouse if
Co|umn B is nlled in. $ 0.00 $

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support include regular contributions
from an unmarried partner, members of your househoid, your dependents, parents,
and roommates. include regular contributions from a spouse only if Column B is not

 

 

 

 

 

 

 

filled in. Do not include payments you listed on line 3. $ 0-00 $
5. Net income from operating a

business, professionl or farm Debtor 1 Debtor 2

Gross receipts (t)efore all deductions) 55 5,700.00

Ordinary and necessary operating expenses '$ 0-00

Net monthly income from a business Copy

profession, or farm $ 5»700-00 here -> $ 5,700-00 $
6. Net income from rental and

other real property Debtor 1 Debtor 2

Gross receipts (before ali deductions) 3 0-00

Ordinary and necessary operating expenses -$ 0_00

Net monthly income from rental or other real property $ 0-00 Copy here '> $ 0.00 $

Ofncia| Form 1223 Chapter 11 Statement of Your Current Monthly income page 1

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Case 17-11043 Doc 22 Filed 09/29/17 Page 30 of 38

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

centum Avery Bradiey Green Case numbeii"i“"¢‘”"l 17“11043
Column A Coiumn B
Debtor1 Debtor 2
7. interestl dividends, and royalties 0'00 $
8. Unemployment compensation $ F 0.00 $
Do not enter the amount if you contend that the amount received was a benefit under
the Socia| Security Act. lnstead, list it here:
For you$ 0_00
For your spouse$
9. Pension or retirement income. Do not include any amount received that Was a
benefit under the Social Security Act. 0'00 3
10. income from all other sources not listed above. Specify the source and amount
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime` a crime against humanity` or international or
domestic terrorism.
if necessary, list other sources on a separate page and put the total below.
$ $
$ 0.00 $
Total amounts from separate pages ifany, + $ 0.00
11. Caicuiate your total current monthly income.
Add lines 2 through 10 for each column.
Then add the total for Co|umn A to the total for Co|umn B. $ 5'700'00 + $ : 3 517°0-00
Ochia| Form 1225 Chapter 11 Statement of Your Current Monthly income page 2

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Case 17-11043 Doc 22 Filed 09/29/17 Page 31 of 38

liabler 1 Avery Bradi&y GI'E.‘EI'\ Case number tifknown) 17-1 1043

 

 

Sign Below

By signing here under penaity of perjury | declare that the information on this statement and in any attachments is true and correct

X lsi Avery Bradiey Green

Avery Brad|ey Green
Signature of Debtor 1

 

Date September 29, 2017
iV|iV| )' DD /YYYY

 

 

 

 

 

Official Form 122B Chapter 11 Statement of Your Current Monthly income page 3
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Case 17-11043 Doc 22 Filed 09/29/17 Page 32 of 38

Notice Required by 11 U.S.C. § 342(b) for
individuals Filing for Bankruptcy (Form 2010)

 

 

 

i
i

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily foir a persona|, famiiy, or

household purpose.”

 

Chapter 7: Liquidation

 

 

 

The types of bankruptcy that are available to
individuals

individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voiuntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

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$245 filingfee
$75 administrative fee

+ $15 trustee surcharge

 

$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors The
primary purpose of filing under chapter 7 is to have
your debts discharged The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may stiii
be enforced after discharge For exampie, a creditor
may have the right to foreclose a horne mortgage or
repossess an automobile

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge

You should know that even if you file chapter 7 and
you receive a discharge some debts are not
discharged under the iaw. Therefore, you may still
be responsible to pay:

most taxes;

most student ioans;

domestic support and property settlement
obiigations;

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most fines penalties forfeitures and criminal
restitution obligations and

certain debts that are not listed in your bankruptcy
papers

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you infiicted; and

death or personal injury caused by operating a
motor vehicie, vessei, or aircraft while intoxicated
from alcohol or drugs

if your debts are primarily consumer debts the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount
You must file Chapter 7 Statement of Your Current
Monthly income (Officiai Form 122A-1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state

if your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Caiculafion (Officiai Form
122A-2).

if your income is above the median for your stats you
must file a second form _the Chapter 7 Means Test
Caiculai.‘i`on (Official Form 122A-2)_ The calculations on
the form- sometimes called the ii/leans Test_deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors if

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Testl the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under§ 707(b) of the Bankruptcy Code. if a
motion is filed, the court will decide if your case should
be dismissed To avoid dismissal you may choose to
proceed under another chapter of the Bankruptcy
Code.

if you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property The
property, and the proceeds from property that your
bankruptcy trustee sells or iiquidates that you are
entitled tol is called exempt property Exemptions may
enable you to keep your homel a car, clothingl and
household items or to receive some of the proceeds if
the property is sold

Exemptions are not automatic To exempt propertyl
you must list it on Schedule C.' The Property You Ciaim
as Exempr (Officia| Form 106€). ifyou do not list the
property, the trustee may sell it and pay ali of the
proceeds to your creditors

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $550 administrative fee
$1,717 totalfee

 

Chapter 11 is often used for reorganizing a business
but is also available to individuals The provisions of
chapter 11 are too complicated to summarize briefiy_

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Read These lm -ortant Warnin - s

Because bankruptcy can have serious long-term financial and legal consequences including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. if you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. |f you file without an attorney, you are still responsiblejfor knowing and

following all of the legal requirements

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Nlaking a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter 12: Repayment plan for family
farmers or fishermen

$200 filing fee
+ 375 administrative fee
$275 total fee

 

Simi|ar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid

 

Chapter13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $75 administrative fee
$310 total fee

 

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are riot paid You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

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Under chapter 13, you must file with the court a plan
to repay your creditors all or part ofthe money that
you owe them, usually using your future earnings if
the court approves your planl the court will allow you
to repay your debts as adjusted by the plan, Within 3
years or 5 years depending on your income and other
factors

After you make all the payments under your planl
many of your debts are discharged The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations

most student loansl

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations

certain debts that are not listed in your
bankruptcy papersl

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts

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Warning: Fiie Your Forms on Tirne

Section 521(a)(‘i) of the Bankruptcy Code requires that §
you promptly file detailed information about your j
creditors, assets liabilities income. expenses and j
general financial condition The court may dismiss your l
bankruptcy case if you do not file this information within j
the deadlines set by the Bankruptcy Code. the

Bankruptcy Ruies, and the local rules of the court

For more information about the documents and
their deadlines go to:
http:iiwww.uscourts.govibkformsibankruptcy form

s.htmi#procedure_

 

Bankruptcy crimes have serious consequences

if you knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury--either orally or in writing_in
connection with a bankruptcy case, you may be
fined, imprisoned or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

l'\iiake sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address

Notice Required by 11 U.S.C. § 342(b) for individuals Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together_called a joint case if you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency_ 11 U.S.C. § 109(h). lf you are filing ajoint
casel both spouses must receive the briefing With
limited exceptions you must receive it within the 180
days before you file your bankruptcy petition This
briefing is usually conducted by telephone or on the
internet_

in additionl after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge if you are
filing a joint casel both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http:iijustice.goviustieoihapcpaiccdeicc approved.html

 

in Alabama and North Caroiina, go to:
http:i'i'www.uscourts.gov/FederalCourts/Bankruptcyi'
BankruptcyResourcesiApprovedCredit

And Dethounselors.aspx_

 

 

if you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list

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32030 (Ferm 2030) (12/15)
United States Bankruptcy Court
Middle District of North Caroiina

ln re Avery Bradiey Green Case No. 17»11043
Debtor(s) Chapter 11

 

DISCL()SURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

l. Pursuant to l l U .S.C. § 329(a) and ch. Bankrl Pl 20i6(b), l certify that l am the attorney for the above named debtor{s) and that
compensation paid to me within one year before the filing of`the petition in bankruptcy, or agreed to be paid to mc, for Services rendered or to
be rendered on behalf of`the debtor(s) in contemplation of or in connection with the bankruptcy case is as foilowS:

 

For legal services l have agreed to accept VVVVVVVVVVVVVVVVVVVVVVVVVVV $ 0_00
Prior to the filing of this statement I have iccelved $ 0.00
Bal'd“‘>@ DU€ $ A

2. ‘5 1 717.00 of the filing fee has been paid.

 

3. 'I`he Source ofthe compensation paid to me wast

- Debtor l:l Other (specif`y):
4. The source ot'compensation to be paid to me is:

- Debtor l:l Other (specify):
5. l l have not agreed to Share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

l:l l have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy ofthe agi'eement, together with a list ofthe names ofthe people sharing in the compensation is attached

6. in return for the above-disclosed fee, l have agreed to render legal service for all aspects ofthe bankruptcy case, including:

Analysis ofthe debtor'S financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedules statement of affairs and plan which may be required;
Representation of the debtor at the meeting of creditors and confirmation hearing1 and any adjourned hearings thereof;
Representation ofthe debtor in adversary proceedings and other contested bankruptcy matters;
[Other provisions as needed]
Representation in all matters before the Bankrutpcy Court. Fees by sepatare order and application as approved

by Court

sense

7. By agreement with the debtor(s), the above-disclosed fee does not include the following sei'vice:

 

CERTlFICATION

l certify that the foregoing is a complete Statement ot` any agreement or arrangement for payment to me for representation ofthe debtor(s) in
this bankruptcy proceeding

September 29, 2017 lsi Phillip E. Bolton

Date Phillip E. Bolton 12326NC
Si`giici!iii‘e of A tierney
Boiton Law Group, P.A.
622-0 Guilford Co|lege Road
Greensboro, NC 27409
336-294-7777 Fax: 336-294-4239
filing@boltlaw.net
Name affair/irm

 

 

 

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United States Bankruptcy Court
Middle District of North Carolina

la re Avery Brad|ey Green Case No. 17-11043

 

 

Debtor(s) Chapter 11

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledgel

Date: September 29, 2017 lsi Avery Brad|ey Green
Avery Bradiey Green
Signature of Debtor

 

 

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ABLP REIT, LLC
3390 Auto Mall Drive
West Lake Village, CA 91362

ARCPE l, LLC

1900 Sunset Harbour Dr.
Annex 2nd FlOOr

Miami Beach, FL 33139

Bank Of America Home Loan Servicing
P.O. Box 31785
Tampa, FL 33631

Employment Security Commission
Attn: Tax Dept.

P.O. BOX 26504

Raleigh, NC 27611-6504

Guilford Co. Tax Deparcment
P.O. Box 3328
Greensboro, NC 27402

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

Modern Concepts and Equipment, LLC
1833 Neelley Road
Pleasant Garden, NC 27313

NC Dept. Of Revenue
P.O. Box 1168
Raleigh, NC 27640

Walt Pettit

Hutchins Law Firm

PO BOX 2505
Fayetteville, NC 28302

Wells Fargo
P.O. Box 10335
Des Moines, IA 50306

